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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

RONALD ELLIOTT,
    Plaintiff,
                                              Case No. 2:17-cv-13381- SFC-DRG
v.                                            Hon. Sean F. Cox
I.C. SYSTEM, INC.,                            Mag. J.: David R. Grand
      Defendant.
__________________________________________________________________

              NOTICE OF SETTLEMENT WITH DEFENDANT
                          I.C. SYSTEM, INC.

      Plaintiff and Defendant, I.C. System, Inc. have agreed to settle this lawsuit

and intend to file a Stipulation of Dismissal as to I.C. System, Inc., with prejudice,

no later than December 8, 2018.


                                  Respectfully submitted,

                                  /s/ Gary Nitzkin
                                  GARY D. NITZKIN (P41155)
                                  Credit Repair Lawyers of America
                                  Attorney for Plaintiff
                                  22142 West Nine Mile Road
                                  Southfield, MI 48033
                                  (248) 353-2882
                                  gary@crlam.com
October 8, 2018.


                              PROOF OF SERVICE

      I, Gary Nitzkin, hereby state that on October 8, 2018, I served a copy of the
within pleading upon all counsel of record via the ECF System.
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